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 4
                          UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHINGTON

 6   UNITED STATES OF AMERICA,          )
                                        )
 7                   Plaintiff,         )      CR-07-144-FVS
                                        )
 8       Vs.                            )      ORDER GRANTING DEFENDANT’S
                                        )      UNOPPOSED MOTION TO MODIFY
 9   TRISTAN REYNOLDS,                  )
                                        )
10                   Defendant.         )
                                        )
11
          The Defendant’s Motion to Modify Conditions of Release having
12
     been read and considered, and
13
          It appearing that neither the United States Attorney nor the
14
     United States Probation Office opposes said Motion,
15
          IT IS ORDERED that the Motion to Modify (Ct. Rec. 54) is
16
     GRANTED. Defendant’s condition of release requiring electronically
17
     monitored home confinement shall be lifted, and Mr. Reynolds shall
18
     not be required to be confined to his home.            All other conditions
19
     of release shall remain in full force and effect.
20
          DATED March 31, 2008.
21
                              S/ CYNTHIA IMBROGNO
22                       UNITED STATES MAGISTRATE JUDGE
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27   ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO MODIFY - 1
